Case 1:17-cV-00524-BLW Document 1 Filed 12/26/17 Page 1 of 2

AO 440 (Rev. 06/]2) Summons in a Civil Aclion

 

UNITED STATES DISTRICT COURT

for the
District of Idaho

Gary L. l\/|erchant,

 

Plaintiff(s)

v. Civil Action No.

Corizon Hea|th, |nc., Corizon, L.L.C., |daho
Department of Corrections, Warden Keith Yordy, and
John/Jane Does |-X, whose true identities are
unknown,

Defendanl(s)

 

\/\/V\./\/\_/\/\_/\./\./\/V

SUMMONS IN A CIVIL ACTION

To: (Defendanz's name andaddress) Corizon Hea|th, |nc., Corizon, L.L.C.

A lawsuit has been filed against you.

Within 21 days after service of this Summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Jason R.N. |\/|onte|eone, Esq.

Johnson & |\/|onte|eone, L.L.P.
350 N. 9th St., Ste. 500
BOiSe, |D 83702

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must flle your answer or motion with the court.

CLERK OF COURT

Date:

 

Signalure of Clerk or Depuly C/erk

Case 1:17-cV-00524-BLW Document 1 Filed 12/26/17 Page 2 of 2

AO 440 (Rev 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
( T his section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

ThiS SUmmOI`lS fOl' (name of individual and litle, if any)

was received by me on (daze)

lj I personally served the summons on the individual at (place)

on (daze) ; or

 

EI l left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (daze) , and mailed a copy to the individual’s last known address; or

[j l served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name aforganizmion)

 

01'1 (date) § OI’
|:l I returned the summons unexecuted because § Or
g Othel` (specijj)):
My fees are $ for travel and $ for services, for a total of $ 0_00

l declare under penalty of perjury that this information is true.

Date:

 

Server ’s signature

 

Printed name and title

Server 's address

Additional information regarding attempted service, etc:

